                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

SCOTTSDALE INSURANCE                            )
COMPANY,                                        )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )   Case No. 4:21-cv-00725-SRB
                                                )
GLORIA LETICIA AGUIRRE RIVERA,                  )
etc., et al.,                                   )
                                                )
               Defendants.                      )

        JOINT PROPOSED SCHEDULING ORDER AND DISCOVERY PLAN

        Pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, the

undersigned counsel for the parties to this cause propose the following deadlines for

completion of discovery, following the undersigned having completed their Rule 26(f)

discovery planning conference:

A.      PLEADINGS.

        1.     Any motion to join additional parties shall be filed on or before April 4,

2022.

        2.     Any motion to amend the pleadings shall be filed on or before April 4,

2022.

B.      MEDIATION AND ASSESSMENT PROGRAM (MAP).

        In cases assigned to the Court’s Mediation and Assessment Program (MAP),

the MAP General Order requires that parties assigned to the outside mediator



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category electronically file the Designation of Mediator within fourteen (14) calendar

days after the Rule 26 meeting and mediate the case within seventy-five (75) calendar

days after the Rule 26 meeting.

C.     DISCOVERY.

       1.     All pretrial discovery authorized by the Federal Rules of Civil

Procedure shall be conducted consistent with the Rules of Civil Procedure and the

Local Rules of the Western District of Missouri. Discovery shall be completed on or

before August 8, 2022. This means that all discovery shall be completed, not simply

submitted, on the date specified by this paragraph. Accordingly, all discovery requests

and depositions shall be submitted and/or scheduled prior to the date specified in this

paragraph and shall allow sufficient time for completion within the time specified by

the Federal Rules of Civil Procedure, the Local Court Rules, and/or orders of this

Court. The Court reserves the right to exercise control over the taking of depositions.

       2.     Prior to the close of discovery, the parties shall jointly file a status

report advising the Court of the status of discovery to include a description of all

discovery completed, all discovery scheduled but not yet completed, all discovery at

that time identified as necessary but not yet scheduled and all existing discovery

disputes. These reports will be due on July 25, 2022.




D.     EXPERTS.

       1.     Counsel for the parties met and conferred during the Rule 26(f)


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planning and discovery conference and agree that no experts are contemplated by any

party to this cause.




E.     DISCOVERY MOTIONS.

       Absent extraordinary circumstances, all discovery motions will be filed on or

before July 25, 2022. See Local Rule 37.1 for procedures that must be followed before

filing a discovery motion. The Court will not entertain any discovery motion absent

full compliance with Local Rule 37.1. Any discovery motion filed without complying

with Local Rule 37.1 will be denied. In the event that a teleconference is needed, my

courtroom deputy may be reached at 417-865-3741. All teleconference requests

should be directed to her. Each party to the dispute shall fax a description of the

discovery dispute, not to exceed one page in length, to the Court at 417-865-2618, and

to opposing counsel at least 24 hours before the teleconference.

F.     BUSINESS RECORDS.

       All parties must notify all other parties of any business records they intend to

“self-authenticate” pursuant to Federal Rules of Evidence 803(6), 902(11) and 902(12)

on or before August 1, 2022. A Certificate of Service signifying compliance shall be

filed with the Court.

G.     DAUBERT MOTIONS.

       Since no party intends to designate any expert witnesses to testify in this

cause, no deadline for Daubert motions is applicable to this matter.


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H.     DISPOSITIVE MOTIONS.

       All dispositive motions, except those under FRCP 12(h)(2) or (3), shall be filed

on or before August 8, 2022. All motions for summary judgment shall comply with

Local Rule 56.1.

I.     EXTENSIONS OF TIME.

       1.      All motions for extension of time pursuant to FRCP 6(b) or FRCP 31,

33, 34 and 36 must state:

       a.      The date when the pleading, response or other action is/was first due;

       b.      The number of previous extensions and the date the last extension

expires;

       c.      The cause for the requested extension, including a statement as to why

the action due has not been completed in the allotted time; and

       d.      Whether the requested extension is approved or opposed by opposing

counsel (agreement by counsel to a requested extension is not binding on the Court).

J.     INITIAL PRETRIAL CONFERENCE.

       An initial pretrial conference in this case will be held on [to be determined

based upon the availability of the Court, however, the parties believe this matter to be

ready for a pre-trial conference by the week of August 22, 2022]. Lead trial counsel

shall participate in this conference.

K.     JOINT PRETRIAL MEMORANDUM

       Prior to the initial pretrial conference, counsel for all parties shall meet,


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prepare and sign a Memo on Pretrial Conference. The Memo on Pretrial Conference

must be filed by 12:00 p.m. (noon) on the date preceding the Pretrial Conference. All

parties are responsible for the preparation of the Memo on Pretrial Conference and

shall jointly complete this Memo. The Memo on Pretrial Conference should address

the following issues:

       1.      Identification of facts not in dispute to which the parties will stipulate;

       2.      Identification of disputed issues regarding the sufficiency of foundation

for or authenticity of an exhibit;

       3.      Identification of legal and factual issues to be tried;

       4.      Identification of evidentiary issues expected to be presented at trial;

       5.      Estimate length of trial; and

       6.      The history of mediation efforts relating to the case.

L.     MOTIONS IN LIMINE.

       The parties shall file all Motions in Limine ten (10) working days prior to the

initial pretrial conference. Objections to Motions in Limine shall be filed five (5)

working days prior to the initial pretrial conference.

M.     WITNESS LIST.

       At least ten (10) working days prior to the initial pretrial conference each

party shall file a list of witnesses who may be called to testify at trial along with a

brief description of the subject matter as to which they will testify, and an estimate of

the length of time for direct examination. If a witness is not listed by a party, that


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witness will not be permitted to testify absent leave of Court and then only for the

purpose of unanticipated rebuttal or unanticipated impeachment. Objection to any

witnesses submitted on a witness list shall be filed at least five (5) working days prior

to the initial pretrial conference.

N.     EXHIBITS.

       Pursuant to Local Rule 39.1, at least ten (10) working days prior to the date the

pretrial conference is to be held, each party will file a list of all exhibits which may be

offered at trial. Except by leave of Court for good cause, no exhibit will be received in

evidence which is not listed. Objections to any exhibit submitted on an exhibit list

shall be filed at least five (5) working days prior to the initial pretrial conference. The

parties shall additionally prepare and provide to the courtroom deputy, the morning

of trial, an Exhibit Index, with said index being prepared on a form provided by the

Clerk’s Office. Plaintiff and Defendant shall use numbers, designating who is offering

the exhibit (P1 for Plaintiff’s Exhibit 1, D1 for Defendant’s Exhibit 1, J1 for Joint

Exhibits, etc.). Each item, i.e., each photograph, each document, must have its own

exhibit number. All exhibits shall be marked by the parties prior to trial. At the time

an exhibit is used during trial, the party who first uses the exhibit must provide a

copy of the exhibit to the Court.

O.     DEPOSITION DESIGNATIONS.

       1.      At least ten (10) working days before the date the pretrial conference is

to be held, each party asserting an affirmative claim or claims for relief (plaintiff,


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third-party plaintiff, counterclaiming defendant, cross-claiming defendant, etc.) shall

file a designation, by page and line number, of any deposition testimony to be offered

in evidence as a part of that party's case.

       2.      At least five (5) working days prior to the date the pretrial conference is

to be held, each party defending against an affirmative claim for relief shall file:

               a.      Any objections to proposed deposition testimony designated by

       any other party;

               b.      A designation, by page and line number, of any deposition

       testimony to be offered as cross-examination to deposition testimony

       designated by other parties; and

               c.      A designation, by page and line number, of any deposition

       testimony to be offered in evidence as part of that party's case-in-chief in

       connection with such defense.

       3.      At least three (3) working days before the date of the pretrial

conference, each party asserting an affirmative claim or claims for relief shall file:

       a.      Any objections to proposed deposition testimony designated by any

       other party; and

       b.      A designation, by page and line number, of any deposition testimony to

be offered as cross-examination to deposition testimony designated by other parties.

       4.      The parties shall meet, discuss and in good faith attempt to resolve all

objections to designated deposition testimony prior to the pretrial conference.


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P.     TRIAL SETTING.

       This case is scheduled for a one-day bench trial, commencing at 9:00am on

[such date as to be determined by the Court, however, the parties believe this matter

to be ready for trial by the week of November 7, 2022]. A final pretrial conference is

scheduled for 8:30 a.m. immediately preceding trial.




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                         Respectfully submitted,

                         /s/ Taylor L. Connolly________________________
                         T. Michael Ward       #32816
                         Taylor L. Connolly    #66865

                         BROWN & JAMES, P.C.
                         2345 Grand Boulevard, Suite 2100
                         Kansas City, Missouri 64108
                         816-472-0800
                         816-421-1183 – Facsimile

                         tmward@bjpc.com
                         tconnolly@bjpc.com

                         Attorneys for Plaintiff


                         /s/ Tom Hershewe
                         Tom Hershewe, MO # 57642
                         DOLLAR, BURNS, BECKER & HERSHEWE, L.C.
                         1100 Main Street, Suite 2600
                         Kansas City, MO 64105
                         (816) 876-2600
                         (816) 221-8763 Fax
                         tom@dollar-law.com
                         ATTORNEYS FOR DEFENDANT GLORIA
                         LECTICIA AGUIRRE RIVERA

                         /s/ Joshua Scott
                         Joshua Scott, MO #64147
                         THE LAW OFFICE OF JOSHUA SCOTT, LLC
                         1100 Main Street, Suite 2600
                         Kansas City, MO 64105
                         (816) 876-2600
                         (816) 221-8763 Fax
                         joshua@joshuascottlaw.com
                         ATTORNEYS FOR DEFENDANT MERCEDES
                         ONTIVEROS, legal and natural mother of and
                         next friend of G.J.C., a minor, and A.L.C., a minor



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                         /s/ Michael S. Foster
                         Michael S. Foster, MO # 61205
                         FOSTER WALLACE, LLC
                         4700 Belleview Ave., Ste. 304
                         Kansas City, MO 64112
                         (816) 249-2101
                         (816) 249-2170 Fax
                         Michael@fosterwallace.com
                         ATTORNEYS FOR DEFENDANT ALFREDO
                         CALDERON

                         /s/ Nick A. Brand
                         Nick A. Brand, MO #63380
                         KUHLMAN & LUCAS, LLC
                         4700 Belleview Ave., Suite 300
                         Kansas City, MO 64112
                         (816) 799-0330
                         (816) 799-0336 Fax
                         nick@kuhlmanlucas.com
                         ATTORNEYS FOR DEFENDANT ANDREA
                         DEOSORIO




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